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     IN THE UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF ILLINOIS

                                     EASTERN DIVISION

    Dipesh Singla,                        )    1:25-cv-08098
                                               Judge Sara L. Ellis
        Plaintiff,                        )    Magistrate Judge Jeffrey T. Gilbert
                                               RANDOM / Cat. 1
                                          )


BC v.                                     )       Case No. ________________________

                                          )       Hon’ble Judge. ___________________

    UNIVERSITY OF CHICAGO;                                               )

    BOARD OF TRUSTEES AT THE UNIVERSITY OF CHICAGO;
                                                                              D
                                                                     R) ECEIVEAXK
    UNIVERSITY OF CHICAGO SENATE;                                        )   7/16/2025
                                                                                    . BRUTO    N
                                                                          THOMA.SDG
                                                                                  IS T R IC T COURT
                                                                       CLERK, U.S
    PROVOST UCHICAGO (AND OFFICE);                                       )

    PRESIDENT OFFICE UCHICAGO (AND OFFICE);                              )

    DEPARTMENT OF PHYSICS;                                               )

    CAMPUS AND STUDENT LIFE;                                             )

    HARRIS SCHOOL OF PUBLIC POLICY;                                      )

    UCHICAGO HUMAN RESOURCES;                                            )

    SOCIAL SCIENCES COMPUTING SERVICES;                                  )

    UNIVERSITY OF CHICAGO BURSAR OFFICE;                                 )

    MANSUETO INSTITUTE FOR URBAN INNOVATION;                             )

    OFFICE OF INTERNATIONAL AFFAIRS;                                     )

    STUDENT DISABILITY SERVICE;                                          )

    UNIVERSITY OF CHICAGO MEDICINE;                                      )

    UNIVERSITY OF CHICAGO HOSPITALS;                                     )

    CHARTWELLS HIGHER EDUCATION UNIVERSITY OF CHICAGO; )

    UCHICAGO DINING;                                                     )
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CAMPUS DINING ADVISORY BOARD;                                 )

TEAMSTERS LOCAL 743;                                          )

UNIVERSITY OF CHICAGO ARTS;                                   )

GRADUATE STUDENT UNITED (UCHICAGO);                           )

EQUAL OPPORTUNITY PROGRAMS;                                   )

DEAN KATE S. BIDDLE (HARRIS SCHOOL OF PUBLIC POLICY);         )

DEAN ETHAN BUENO DE MESQUITA;                                 )

DEAN BAHAREH LAMPERT;                                         )

DR. DON COURSEY;                                              )

DR. BRUCE MEYER;                                              )

DR. MARIN BAUTISTA;                                           )

DEAN MICHAEL HAYES;                                           )

PRESIDENT PAUL ALIVISATOS;                                    )

PROVOST KATHERINE BAICKER;                                    )

MELISSA B. M. VERGARA;                                        )

JEREMY W. INABINET;                                           )

DANIELLE NEMSCHOFF;                                           )

ANGIE GLEGHORN (HR);                                          )

CHRISTINA KLESPIES;                                           )

TRACI VERLEYEN HOPE;                                          )

CAROL BRIDGEMAN (CSI);                                        )

ANNIE DIAMOND (DIVISIONAL COORDINATOR, SSCD);                 )

DR. ADA PALMER;                                               )

AYRELLE GILES (QAD, CHARTWELLS HIGHER EDUCATION);             )
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ARUN BANOTRA (SSCS);                                          )

BART LONGACRE (ASSISTANT DEAN FOR INFORMATION -               )

TECHNOLOGY, SSCS);                                            )

DIANA GONZÁLEZ (SSD DEAN OFFICE);                             )

DEAN AND OFFICE OF SOCIAL SCIENCES DIVISION;                  )

KERRY SHARKEY (SSCS);                                         )

SCOTT BRADWELL (SSCS);                                        )

SHOMARI TATE (SSCS);                                          )

NELSON BALBARIN (SSCS);                                       )

CORY MARTIN (SSCS);                                           )

ARKUS ROSE (RUSTANDY);                                        )

CARA PARRISH (UCHICAGO ARTS);                                 )

LOGAN CENTER;                                                 )

ERIN BRENNER (LOGAN CENTER);                                  )

FRANK GILBERT (LOGAN CENTER);                                 )

BRIAN WILSON (MANSUETO INSTITUTE FOR URBAN INNO);             )

AIMEE GILES-SCOTT; (MANSUETO INSTITUTE FOR URBAN Inn); )

HEIDI LEE(MANSUETO INSTITUTE FOR URBAN INNO);                 )

PROFESSOR DR. JOHN BURROWS (Harris School of PP);             )

JASMIN JOHNSON; (HR)                                          )

CHRISTINA KLESPIES (SSD HR);                                  )

MARY MCCLELLAND;       (HR)                                   )

OFFICE FOR SEXUAL MISCONDUCT PREVENTION;                      )

MEGAN HECKEL (OFFICE FOR SEXUAL -                             )
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MISCONDUCT PREVENTION);                                                     )

VICKIE SIDES;                                                               )

VOGEL LABS;                                                                 )

UCHICAGO FACILITIES;                                                        )

TITLE IX AND ADA/SECTION 504 COORDINATOR                                    )

OFFICES/GROUP AT UCHICAGO;                                                  )

UCHICAGO CARES;                                                             )

DEPARTMENT OF SAFETY AND SECURITY;                                          )

SEXUAL ASSAULT DEAN ON CALL;                                                )

CAMPUS SECURITY AUTHORITY UCHICAGO,                                         )

   Defendants.                                                              )

[and other individuals and entities to be named with attorney guidance, and full complaint],

Plaintiff reserves the right to amend this Complaint to name additional defendants as identified

through discovery or based on counsel’s investigation

   Defendants.                                                              )

JURY TRIAL DEMANDED


    COMPLAINT FOR DAMAGES, DECLARA TORY, AND INJUNCTIVE RELIEF



(All statements below requested to be considered allegations as per Hon’ble court

procedures/protocols) (Plaintiff request further protection of any action against, as this

complaint is filed in good faith, and allegedly as whistleblower also)


                              I. PRELIMINARY STATEMENT
   1. This is a civil rights, whistleblower, discrimination, and breach of contract action brought

       by John Doe ("Plaintiff with Pseudo Name"), a former graduate student and employee of

       the University of Chicago. This complaint seeks redress for a systematic pattern of

       retaliation, discrimination, harassment, denial of due process, Breach of contract and other
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   unlawful conduct perpetrated by the University of Chicago and its various officers,

   departments, and agents. These actions led to his wrongful expulsion, wrongful termination,

   jobs losses, and harm to his education, career, research, health, and wellbeing.

2. After Plaintiff allegedly engaged in legally protected activities including reporting safety

   violations, food safety and quality issues, gases mishandling, filing union and internal

   grievances in good faith, whistleblowing, discrimination, and reporting a physical and

   sexual assault by person identified as “Shrivatsa Thulasiram”, Defendants orchestrated a

   coordinated campaign of reprisal. This campaign included the termination of multiple

   student employment positions, the initiation of a biased, prejudged, predetermined, and

   pretextual disciplinary process based on falsified evidence, omission of evidence, the

   denial of disability accommodations, and ultimately, Plaintiff's wrongful expulsion from

   the University. Plaintiff, acting as a whistleblower, reported misconduct including

   discrimination, misuse of federal funds/non-profit status for personal purchases etc, unsafe

   campus conditions, unclean (dirty) dinning and facilities, and assault cover-ups and

   inaction on such serious offences. Defendants retaliated by expelling him, firing him,

   denying disability accommodations, and intimidating him, violating federal and state laws.

3. Plaintiff respectfully asks the Court to grant the following relief: monetary damages as

   determined by a jury, including compensation for lost educational, employment, research,

   mental and emotional harm; a formal ruling that the University violated Plaintiff’s rights;

   an order requiring changes to the University’s policies and practices; public apologies

   approved by the Plaintiff; refund of tuition and fees; other damages jury seems important

   for plaintiff and future; lost opportunities damages; recognition of Plaintiff’s disadvantaged

   background; and investigation into the misuse of federal funds and nonprofit status.

   Plaintiff also requests appointment of counsel under 28 U.S.C. § 1915(e)(1) and Local Rule

   83.35 and asks that the Court protect Plaintiff’s identity and personal information by

   allowing sealed or anonymous filings to avoid further harm.

4. Defendants' actions have caused Plaintiff severe emotional, professional, and financial

   harm. Plaintiff brings this action to hold Defendants accountable for their unlawful conduct,

   to seek compensatory and punitive damages, and to obtain injunctive and declaratory relief

   to prevent such abuses from happening to others. Plaintiff brings this action in the capacity

   of a whistleblower, seeking to expose and obtain redress for misconduct that threatens the
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   public interest, public safety, involves employer wrongdoing, a demonstrated pattern of

   retaliation, discrimination, falsification of records, fabricated disciplinary measures,

   Breach of contract, and violations impacting whistleblowers, grievance filers, children’s

   rights, taxpayer funds, non-profit status, patient and research subject rights, individual civil

   rights, human rights, as well as rights guaranteed under state and federal constitutions.

   Plaintiff further seeks to protect the rights of grievance filers and whistleblowers, and to

   address concerns relating to food safety, sanitary conditions, and the fundamental rights

   implicated thereby.

5. This Complaint is filed pursuant to Rules 8 and 10 of the Federal Rules of Civil Procedure.

   Plaintiff has endeavoured to present the facts in a short, plain, and organized manner, with

   each paragraph limited to a distinct occurrence or legal contention, in compliance with

   Rule 10(b). Plaintiff attached redacted version of full complaint in first information packet

   for more details and after seal plaintiff request that plaintiff can upload the full version of

   complaint, redacted version can be docketed for public in good faith.

6. Plaintiff respectfully requests that the full version of complaint be submitted to the Court

   under seal pursuant to Local Rule 26.2 and relevant case law allowing for restricted public

   access to sensitive personal information. Plaintiff further requests that a redacted version

   be made available on the public docket, wherein identifying information, including the

   Plaintiff’s name, photographs (like screenshots of emails, video recordings or other

   personal details capable of linking the individual to the allegations (including religion,

   caste, sex, disability, but not limited to these), addresses including email if any, Medical or

   mental health information, Employment records, Harassment or assault allegations,

   Student or minor data, IFP be omitted or anonymized. Plaintiff further requests that the

   Court maintain the IFP application under seal and restrict access to Defendants and public,

   as the financial information is solely for the Court’s assessment and irrelevant to the merits

   of the case. Plaintiff requests that these proceedings and filings be sealed at this time to

   protect sensitive interests as set forth herein, but expressly reserves the right to seek an

   order from this Court to lift the seal and make these records publicly accessible upon

   prevailing/winning in this matter or upon a subsequent showing of good cause.

7. Plaintiff respectfully requests that any remote video or audio proceedings in this matter not

   be recorded and not to be entered into the public record, and, if recorded by the Court for
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   internal purposes, that the recording remain sealed and inaccessible to the public or

   Defendants, in light of Plaintiff’s overseas location and the sensitive nature of the

   circumstances.

8. Plaintiff makes this request in recognition of the fact that courts are public forums. This

   request is made to avoid further reputational harm, including but not limited to defamation,

   academic or professional retaliation, interference with future employment, damage to

   career    trajectory,   educational   barriers,   immigration    consequences,     and   social

   stigmatization especially in the event of an unfavourable disposition of this matter.

9. The Plaintiff further submits that this case raises issues of systemic importance and should

   serve as a reference for future litigants and courts. Accordingly, Plaintiff is amenable to a

   redacted or abstract version of this matter being cited in public legal resources, so long as

   the Plaintiff remains unidentifiable therein.

10. This request is to serve the interests of justice while respecting the public’s right of access

   to court proceedings and is supported by precedents including Doe v. Stegall, 653 F.2d 180

   (5th Cir. 1981), and Local Rules of the U.S. District Court for the Northern District of

   Illinois governing sealed filings and redactions.


                I.A REQUEST TO PROCEED UNDER PSEUDONYM
   11. Plaintiff respectfully moves this Court to allow this action to proceed under the

   pseudonym “John Doe,” and to permit the filing of a redacted complaint on the public

   docket. This request is necessary to protect Plaintiff’s personal privacy and safety, and to

   avoid additional harm that could result from public disclosure of sensitive information.

   12. This matter involves allegations of discrimination, retaliation, disability rights

   violations, and whistleblower claims against a powerful and resource-rich academic

   institution. Plaintiff, a former student and employee of the University, has already suffered

   significant reputational harm, professional exclusion, and educational setbacks. Disclosure

   of his identity in the public record particularly in the event of an unfavourable outcome

   would risk further defamation, blacklisting, further academic retaliation, and interference

   with future career and immigration prospects.

   13. Plaintiff acknowledges the public nature of judicial proceedings but asserts that the

   public interest can be preserved through access to anonymized filings. Courts have
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    recognized the permissibility of pseudonymous litigation where the issues are sensitive and

    where plaintiffs face potential harm, including social stigma, reputational injury, and

    institutional retaliation. See Doe v. Stegall, 653 F.2d 180 (5th Cir. 1981); Doe v. Elmbrook

    Sch. Dist., 658 F.3d 710 (7th Cir. 2011). The use of a pseudonym is consistent with Local

    Rule 26.2 and the Court’s inherent discretion to protect litigants from unnecessary exposure.

    Accordingly, Plaintiff requests that all future public filings reference Plaintiff by

    pseudonym, and that the Court grant leave to file a sealed, unredacted version of the

    Complaint and related pleadings with the Clerk of Court.


I.B REQUEST FOR CONFIDENTIAL SUBMISSION OF SENSITIVE EMPLOYMENT
                   AND LEGAL SEARCH RECORDS
 14. Plaintiff respectfully requests leave to confidentially submit to the Court, under seal, select

    digital records showing Plaintiff's diligent efforts to retain counsel and apply for

    employment during the relevant period. These records include job application submissions,

    rejections, and outreach to various law firms and organizations. These documents are

    intended solely to show Plaintiff’s good faith attempt to secure legal representation and

    income, and not for publication or general disclosure.

 15. Plaintiff requests that this material be withheld from the Defendants and the public docket

    pursuant to Fed. R. Civ. P. 5.2(d) and Local Rule 26.2, as its disclosure may interfere with

    future employment and professional opportunities and would result in additional

    reputational harm, prejudicing Plaintiff’s ability to seek redress. The Plaintiff affirms this

    request is narrowly tailored to preserve fairness, judicial efficiency, and Plaintiff’s rights.


                             II. JURISDICTION AND VENUE
 16. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331

    (Federal Question) as Plaintiff's claims arise under the Constitution and laws of the United

    States, including but not limited to Title VI and Title VII of the Civil Rights Act of 1964,

    42 U.S.C. § 2000d & § 2000e; Title IX of the Education Amendments of 1972, 20 U.S.C.

    § 1681; the Americans with Disabilities Act (ADA); the Rehabilitation Act; the False

    Claims Act, 31 U.S.C. § 3729; and 42 U.S.C. § 1983.

 17. Venue is proper in the Northern District of Illinois, Eastern Division, under 28 U.S.C. §

    1391, as Defendants are located in Chicago, Illinois, and the events occurred here.
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18. "6. This Court has federal question jurisdiction under 28 U.S.C. § 1331 because Defendant

   University of Chicago's challenged actions constitute state action (plausibly alleged) under

   42 U.S.C. § 1983. Though organized as a private institution, Defendant meets all three tests

   for state action established by the Hon’ble Supreme Court:

   First, Defendant performs the traditional public function of immigration control through

   its mandatory administration of the SEVIS program on behalf of the Department of

   Homeland Security, 8 C.F.R. § 214.3 (United States v. Int'l Bhd. of Teamsters, 941 F.2d

   1292 (2d Cir. 1991)).

   Second, Defendant is pervasively entwined with government through its acceptance of

   multi million (if not billion) in annual Title IV funding and federal research grants

   (Brentwood Acad. v. TSSAA, 531 U.S. 288, 296 (2001)). Even absent traditional state

   action, Defendant’s acceptance of Title IV funds (34 C.F.R. § 668.1) imposes constitutional

   duties under Doe v. Washington Univ., 780 F.3d 479, 485 (8th Cir. 2015) (holding private

   universities "voluntarily submit to First Amendment constraints" by accepting federal aid).

   Third, Defendant's University of Chicago Police Department - a state-commissioned law

   enforcement agency with full arrest powers/detention powers – allegedly engaged in

   retaliatory surveillance, intimidation, obstruction of grievances, of Plaintiff (Flagg v. City

   of Detroit, 252 F. App'x 30 (6th Cir. 2007)). Notwithstanding Rendell-Baker v. Kohn, 457

   U.S. 830 (1982), Defendant's unique hybrid of federal immigration authority and police

   powers distinguishes this case from ordinary private university matters. Such activity is

   analogous to the circumstances recognized in Flagg v. City of Detroit, 715 F.3d 165 (6th

   Cir. 2013), where private police officers were deemed state actors when exercising state-

   conferred powers in a discriminatory or retaliatory manner.

   Fourth, Private entity allegedly performing municipal functions like defendant was deemed

   a state actor. Notre Dame provided housing, utilities, police, and other services typically

   reserved to municipalities, suggesting it performed a "public function (3:13 CV 1239, 2016

   WL 5394493 (N.D. Ind. Sept. 27, 2016)). The court allowed the § 1983 claim to proceed,

   distinguishing this case from Rendell-Baker v. Kohn (457 U.S. 830, 1982), where a private

   school was not a state actor despite public funding, by focusing on Notre Dame’s role as a

   quasi-municipal entity rather than solely an educational institution. The court held that
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   Notre Dame could be a state actor because its self-contained campus operated like a

   "company town" under Marsh v. Alabama, 326 U.S. 501 (1946). The plaintiff successfully

   alleged that Notre Dame controlled public-like services and infrastructure—such as roads,

   utilities, and housing, and exercised delegated state policing powers through its security

   force. These factors mirrored municipal functions, making the state actor claim plausible.

   Likewise, the Defendant, University of Chicago’s expansive campus, with its own police

   force wielding state authority, public infrastructure, and comprehensive governance,

   exhibits the same characteristics. Thus, the University of Chicago must be deemed a state

   actor under the state action doctrine.

   Fairly together, the University’s role in enforcing federal immigration laws, operating a

   deputized police force, and reliance on public funds supports, non-profit status, a finding

   that its actions in the context of Plaintiff’s discipline, surveillance, and retaliation are

   “fairly attributable to the state.” Accordingly, Defendant is subject to liability under the

   Fourteenth Amendment and 42 U.S.C. § 1983 for constitutional violations arising from its

   conduct. In the alternative, even if Defendant is not deemed a state actor under prevailing

   constitutional doctrine, its conduct nonetheless violates Title IX, Title VI, and the ADA,

   which independently prohibit discrimination and retaliation by recipients of federal

   financial assistance."

19. This Court has supplemental jurisdiction over Plaintiff's state law claims pursuant to 28

   U.S.C. § 1367, as they arise from the same nucleus of operative facts as the federal claims.

20. Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a substantial part

   of the events or omissions giving rise to the claims occurred in this judicial district, and the

   Defendants conduct business and are located in this district.


                                    III. THE PARTIES
21. Plaintiff John Doe (Pseudo Name Plaintiff) is an individual and a former graduate student

   and student-employee at the University of Chicago.

22. Defendant THE UNIVERSITY OF CHICAGO, is a private, federally funded, and non-

   profit university located in Chicago, Illinois (5801 S. Ellis Ave., Chicago, IL 60637). It

   receives substantial federal funding and is subject to federal and states laws governing

   education, employment, and civil rights. The other named Defendants are agents,
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       departments, students, staff, affiliates, or governing bodies of the University of Chicago

       who were directly or indirectly involved in the events described herein.

   23. Defendant Board of Trustees oversees the University’s policies, at the same address.

   24. Defendants Office of the Provost, Office of the President, Harris School of Public, Policy,

       Social Sciences Computing Services (SSCS), Student Disability Services, Office of

       International Affairs, University of Chicago Police Department, and Mansueto Institute but

       not limited to these institutions and individuals, are University units responsible for actions

       against Plaintiff, some at the same address and some in nearby Hyde Park community.


                                 IV. FACTUAL ALLEGATIONS
A. Plaintiff's Status and Protected Activities

   25. Plaintiff was an international graduate student at the University of Chicago Started

       September 2023 and held multiple student-employee positions across various university

       departments, including union-eligible roles.

   26. Plaintiff has a documented disability with University of Chicago and had requested

       reasonable accommodations from the University of Chicago, that were denied.

   27. Throughout his time at the University, Plaintiff alleges that plaintiff acted in good faith as

       a whistleblower by reporting multiple instances of misconduct, including A. Unsafe

       handling of hazardous materials (gas cylinders) in the Physics Department basement. B. A

       sexual and physical assault perpetrated by a person who was or is a student and student

       staff affiliated with the University of Chicago. C. Systematic food safety violations in

       campus dining facilities and cafés. D. Potential financial misconduct, including misuse of

       non-profit status and improper tax practices. E. Wrongful termination of job role F. Misuse

       of federal funds and/or nonprofit status, G. Discrimination and unequal treatment H. Child

       labour in university event (may have discussed in SSCS office) I. Good staff including

       faculty and offices staffs leaving university (Inability to retain talent and good natured staff)

       J. Wrongful termination of plaintiff boss at the SSCS(and/or as lecturer as well), University

       of Chicago, K Discrimination L. Autocratic wrongful terminations by university and HR

       Managers/Executives. M. Quality of education (low quality education, new and un-

       interested professors as opposed to world-class faculty). N. No recognition of ideas, free
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   speech and expression, Unequal treatment and discrimination based on nationality, O.

   Wrongful cancelations of Job Interviews, and unfair and discriminatory hiring practices

   based on protected classes. P. Pattern of staff removal after someone leaves office or get

   terminated Q. Mental health conditions R. Denial of disability accommodations S.

   Protection of assaulter (or assailant or assailants) T. Data privacy violations U. Abusive use

   of authority and it’s powers V. Denial of due process W. Student protective policies like

   title IX being on papers only. X. No issuance of No Contact directives to plaintiff. Y.

   Student government election misconduct unequal treatment, and discrimination. Z.

   Retaliation and Breach of contract.

28. On or about January, 2025 end, Plaintiff requested to initiate a formal grievance through

   the Graduate Student United (GSU) at University of Chicago for the wrongful termination

   of his employment. The union submitted a formal grievance notice on his behalf on or

   about February 1, 2025. This constitutes protected activity under the National Labor

   Relations Act (NLRA). Plaintiff was subjected to retaliation shortly, thereafter, including

   jobs termination, disciplinary action, and ultimately expulsion.

29. University officials failed to follow due process, did not provide progressive discipline,

   and retaliated for Plaintiff’s protected activities.

30. Plaintiff asserts was subject to discriminatory treatment based on race, gender, caste,

   nationality, religion, and disability and protected activities participation.

31. Plaintiff asserts that plaintiff was also subjected to surveillance and breach of privacy, in

   violation of FERPA and other applicable laws.

32. Plaintiff is reporting misconduct, including:

      a. Discrimination based on disability, Indian origin, Hindu religion, and caste.

      b. Retaliation against students reporting sexual assault and Title IX violations.

      c. Misuse of federal funds, tax-exempt status, and student aid, including falsified

        financial records and donor fund misuse.

      d. Unauthorized surveillance of student activists by University police.

      e. Unsafe conditions, including Gas/chemical mishandling, food safety violations, and

        environmental negligence.
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         f. Deceptive tuition pricing, false job outcome claims, and coercive loan practices.

         g. Research misconduct, including informed consent violations in NIH studies.

B. The University's Retaliatory Campaign

   33. Immediately following Plaintiff’s protected activities, Defendants began a series of adverse

      and retaliatory actions.

   34. Wrongful Terminations: Plaintiff was terminated from at least seven different student

      employment positions in short succession, including his role at the Social Sciences

      Computing Services (SSCS) and a union-protected role at the Mansueto Institute. These

      terminations were often without notice or legitimate cause.

   35. Pretextual Disciplinary Action: On or about February 12, 2025, just days after Plaintiff

      filed a union grievance, the University issued a disciplinary summons against Plaintiff. The

      charges were based on pretextual grounds, relying on alleged incidents that either occurred

      well before the issuance of the summons, had already been resolved, or in fact never existed.

      The University abruptly initiated these charges only after Plaintiff filed the grievance,

      denied Plaintiff any meaningful due process, and imposed discipline based on matters over

      a year old, in direct violation of the University’s own 60-day limitations rule.

   36. Use of Fabricated Evidence: Plaintiff alleges and asserts that the "Travel Notification

      Form" used as the primary basis for his expulsion was forged or fraudulently created by

      university officials. Plaintiff never submitted the form, nor did he receive the standard

      automated email confirmation that accompanies all such submissions. The University

      failed to provide any technical validation (IP logs, metadata) to prove the form's

      authenticity, despite requests.

   37. Denial of Due Process: The disciplinary hearing was fundamentally biased. The panel

      selectively ignored exculpatory evidence, prevented discussion of Plaintiff's union-

      protected employment, and was improperly influenced by non-voting administrators like

      Dean Kate Biddle, who misrepresented facts during the proceeding. The entire process

      appeared to be pre-determined, prejudged, and fabricated to result in expulsion, and it’s

      appeal’s process.
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38. Wrongful Expulsion: On February 25, 2025, before the union grievance of February 1

   2025, process could proceed and before Plaintiff's appeal period on the disciplinary matter

   had concluded, the University formally expelled him. This action effectively silenced his

   grievances and denied him any meaningful redress.

39. Discrimination and Hostile Environment: Throughout this period, Plaintiff was

   subjected to a hostile environment based on his disability, religion (Hindu), and national

   origin (Indian). This included mocking comments from staff about his disability,

   discriminatory application of work-hour rules that were not applied to other students, and

   a general environment of exclusion.

40. Retaliatory Surveillance: After filing complaints, Plaintiff alleges that plaintiff observed

   the conspicuous and intimidating presence of University of Chicago Police Department

   (UCPD) vehicles near his residence, a tactic reasonably perceived as surveillance and

   harassment.

41. Defendants retaliated by (Not limited to):

          a. Expelling Plaintiff in with alleged unfair, bias, predetermined, prejudged, hearing

       and allegedly using forged evidence.

          b. Discriminatively terminating his jobs at SSCS and Mansueto Institute with

       pretextual reasons.

          c. Denying disability accommodations without an interactive process or appeal.

          d. Misreporting data, delaying transcripts, and allegedly tampering with records, by

       strategically sending transcripts again or after the discipline blot was added on

       transcripts especially to Harvard law school as was cached so that plaintiff may not get

       legal support or knowledge to sue them for their alleged wrongdoing, misconduct,

       falsification, discrimination, and pattern of multiple retaliations.

          e. Conducting surveillance and intimidation via university police.

          f. Ignoring grievances, violating University policies and federal law.

          g. Plaintiff full time job roles interview got cancelled without reason.

          h. University gave terminations for non-union roles, but not for union roles
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             i. University didn’t gave wages of many hours that plaintiff worked

             j. Non hearing of grievances of discrimination, retaliation

   42. Defendants’ actions caused Plaintiff severe emotional distress, trauma, depression, anxiety,

       financial loss (tuition, wages, opportunities), and career disruption. Plaintiff believes

       plaintiff felt tortured by the university campaigns from alleged bad quality education, non-

       supportive professors and staff, grievance fillings, assault, protection of assault, wrongful

       terminations, discrimination, retaliation, unsafe environment of university, and plaintiff in

       internal grievance had also mentioned that allegedly, that all made breathing become

       difficult in that environment.

   43. Plaintiff’s grievances were dismissed or mishandled, reflecting systemic retaliation against

       whistleblowers, abuse of authority, and discrimination.

   44. Defendants’ misconduct may imply misuses public funds, harms students, and violates civil

       rights, necessitating judicial intervention.

   45. The expulsion process lacked impartiality, due process, breached University rules, causing

       educational, professional, mental and health harm.


C. Further whistleblowing
       46. Plaintiff further alleges and brings to the Court’s attention, as a whistleblower, that

       UChicago Medicine and its affiliated hospitals are engaged in research misconduct and

       fraudulent research practices. Plaintiff also alleges that Vogel Lab is conducting research

       studies in bad faith. Additional details regarding these allegations are set forth in the full

       complaint. Multiple other whistleblowers are in full document of complaint.




                                   V. CLAIMS FOR RELIEF



COUNT I: RETALIATION IN VIOLATION OF FEDERAL AND STATE LAW (Title VII,

Title IX, ADA, Illinois Whistleblower Act, and Public Policy)

   47. Plaintiff realleges and incorporates by reference the allegations contained in the preceding

       paragraphs.
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   48. Defendants took severe, adverse educational and employment actions against Plaintiff,

      including termination and expulsion, as a direct result of his engagement in legally

      protected activities. These activities include filing a union grievance, reporting safety

      violations, reporting a sexual and physical assault, and reporting financial and academic

      misconduct.

   49. The adverse actions would not have occurred "but-for" Plaintiff's protected activities. The

      close temporal proximity between Plaintiff's complaints and the University's adverse

      actions establishes a causal link.

   50. Defendants' actions violate the anti-retaliation provisions of Title VII, Title IX, the ADA,

      the Illinois Whistleblower Act, Student Manuals, and the common law tort of retaliatory

      discharge.

   51. Plaintiff further alleges that university retaliated and took no action against assaulter since

      he was working in Gordon Center, and plaintiff suspects that he might be working on

      federally funded program/project(and/or with professor and/or lab, and/or institute, and/or

      department) who gets such funding) so pressing any charges against him might have

      reputational harm, funding revocations, care of assaulter future, for the university, whereas

      plaintiff was not in similar position, That’s why after initially suggesting no contact

      directive, university didn’t gave the NCD.

COUNT II: DISCRIMINATION IN VIOLATION OF FEDERAL AND STATE LAW (Title

VI, Title IX, ADA, Rehabilitation Act, and Illinois Human Rights Act)

   52. Plaintiff realleges and incorporates by reference the allegations contained in the preceding

      paragraphs.

   53. Defendants subjected Plaintiff to discrimination and a hostile educational and work

      environment based on his disability, religion, race, and national origin.

   54. This discrimination included failing to provide reasonable disability accommodations,

      subjecting him to ridicule, applying policies in a disparate manner compared to non-Hindu

      and non-Indian students, and failing to provide equal access to institutional resources and

      protections.
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   55. Defendants' actions violate Title VI, Title IX, the ADA, Section 504 of the Rehabilitation

      Act, and the Illinois Human Rights Act.

COUNT III: DENIAL OF DUE PROCESS AND BREACH OF CONTRACT

   56. Plaintiff realleges and incorporates by reference the allegations contained in the preceding

      paragraphs.

   57. The University of Chicago, by accepting Plaintiff as a student and employee, entered into

      an express and implied contract to provide a fair educational environment and to abide by

      its own published policies, including its student manual, disruptive conduct policy, and

      grievance procedures.

   58. Defendants breached this contract and violated Plaintiff's right to procedural and

      substantive due process by: a. Conducting a sham disciplinary proceeding based on

      fabricated evidence. b. Failing to provide a neutral and unbiased adjudicator. c. Ignoring

      and suppressing exculpatory evidence. d. Denying Plaintiff the right to an informal

      grievance resolution process. e. Prematurely imposing sanctions before the conclusion of

      all appeal and grievance processes.

   59. These actions deprived Plaintiff of his property and liberty interests in his education and

      employment without the due process of law guaranteed by the Fourteenth Amendment and

      Illinois common law.

COUNT IV: FRAUD, MISREPRESENTATION, AND CONSUMER FRAUD (Illinois

Consumer Fraud and Deceptive Business Practices Act)

   60. Plaintiff realleges and incorporates by reference the allegations contained in the preceding

      paragraphs.

   61. Defendants engaged in unfair and deceptive practices by making material

      misrepresentations to Plaintiff and the public regarding the quality of its educational

      programs, student support services, career outcomes, and financial aid practices.

   62. These misrepresentations induced Plaintiff to enroll and pay substantial tuition. The

      University's practices, including flawed exam procedures, deceptive employment statistics,

      and coercive financial aid arrangements, constitute violations of the Illinois Consumer

      Fraud and Deceptive Business Practices Act.
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COUNT V: VIOLATION OF PRIVACY RIGHTS (FERPA, CONSTITUTIONAL LAW)

   63. Defendant unlawfully accessed Plaintiff’s communications and educational records

       without consent.

COUNT VI: MISUSE OF FEDERAL FUNDS AND FALSE CLAIMS ACT VIOLATIONS

(31 U.S.C. § 3729 et seq.)

   64. Plaintiff realleges and incorporates by reference all preceding paragraphs as if fully set

       forth herein. Plaintiff alleges, upon information and belief, that the University of Chicago

       permitted student workers including international students working in multiple institutional

       roles in excess of the federally and/or institutionally mandated hourly limits under F-1

       student visa regulations, union contracts, and internal employment policies.

   65. These violations raise significant concern where such labor appears tied to federally funded

       programs, research initiatives, or educational services for which the University claims

       federal reimbursement, grants, or other nonprofit benefits.

   66. Plaintiff further alleges that such conduct may constitute a pattern of misuse of federal

       funds, potentially violating the False Claims Act (31 U.S.C. § 3729), which prohibits

       knowingly presenting false claims for payment or approval to the United States

       Government or knowingly retaining overpayments. Further, Plaintiff contends that the

       institution’s nonprofit status and access to federal funding were used in bad faith to support

       discriminatory and retaliatory practices including selective enforcement of disciplinary

       action, denial of procedural fairness, and expedited sanctions following protected

       grievance activity all in violation of state and federal laws, including the False Claims Act

       (31 U.S.C. § 3729), Title VI, Title IX, and the Equal Protection and Due Process Clauses

       of the Constitution.

   67. Upon information and belief, the University’s conduct may involve knowingly

       misclassifying or underreporting work hours, leveraging nonprofit exemptions in bad faith,

       and concealing or failing to disclose these practices in federally required documentation

       and grant compliance reports.

   68. If substantiated through discovery, such acts constitute fraudulent misrepresentations

       and/or omissions in connection with the receipt and use of federal education, research, or

       employment funds, and warrant investigation, restitution, penalties, and equitable relief.
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   69. Plaintiff seeks injunctive and declaratory relief, including referral to appropriate federal

       authorities for investigation of potential violations of the False Claims Act and applicable

       Department of Education and Department of Labor grant compliance standards.


                                   VI. PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in his favor after jury

trial and against all Defendants, jointly and severally, and grant the following relief:

           A. A declaration that Defendants' actions violated Plaintiff's rights under federal,

                constitutional and state law.

           B. Declaration of University of Chicago being state actor

           C. Revocation of all of Universities Federal Fundings,

           D. Revocation of Non-profit and Tax-exempt status.

           E. Revocation of privilege of sponsoring international student; Revocation of ability

                to sponsor F1 Visa, I-20 Forms, SEVIS Records, CPT and OPT Authorizations,

           F.   Revocation of FERPA Authorizations/Records, etc.

           G. Relevant penalties to defendants.

           H. Compensatory damages sum in an amount to be determined at trial by jury for all

                economic losses, harassment, mental torture, discrimination, violations of human,

                constitutional, federal, and state rights, emotional distress, future opportunities,

                and reputational harm, and other things mentioned in this or full version of

                complaint.

           I.   Full Tuition Fee and scholarship refund as compensation

           J.   Punitive damages against Defendants for their wilful, malicious, and reckless

                disregard of Plaintiff's rights.

           K. Attorney's fees and the costs of this litigation (if any).

           L. Lost opportunities and top universities admit or relevant heavy damages (If

                possible)

           M. Answer to nuanced constitutional questions arise out of this complex matter,

                considerations of constitutional issues, and recommendations/proposal to

                amendments as required to the legislative or other relevant bodies, for such cases

                no to happen again
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           N. Recognition of term “Educational Terrorism” and/or “Educational terrorists” as

                 mentioned in detail in full complaint.

           O. Public Apology by each individual involved and by the defendant university to be

                 published that is to be approved and updated by plaintiff, with best search engine

                 optimization on university website for outreach of page, and official YouTube,

                 Twitter, and LinkedIn channels of the university of Chicago and relevant schools

                 and individuals. Manually handwritten letters of apology by defendents to be sent

                 out to plaintiff (Around 5000 letters), to be sent to all place and university plaintiff

                 have to apply for afterwards.

           P.    Any other and further relief that the Court and Jury deems just, equitable, and

                 proper in favour of plaintiff.

           Q. Recognition of Socioeconomic Vulnerability: Plaintiff requests the Court consider

                Plaintiff’s low/zero-income and deprived status in assessing equitable relief,

                procedural accommodations, and judicial understanding of power imbalance

                between Plaintiff and institutional Defendant.

           R. Formal Acknowledgment of Persecuted Status: Plaintiff respectfully requests that,

                where permissible under federal law (including Title VII of the Civil Rights Act,

                Equal Protection Clause, or public policy), the Court formally recognize Plaintiff’s

                identity as a member of a persecuted or marginalized minority group and/or

                economically disadvantaged class, as a relevant context in assessing the harm and

                relief due.


                                           VII MOTIONS
70. Plaintiff moves for appointment of counsel, as he is indigent, unemployed, and faces complex

legal issues, per Local Rules 83.35, 83.36, and 28 U.S.C. § 1915(e)(1).

71. Plaintiff moves to proceed in forma pauperis, unable to pay fees due to financial hardship, per

Local Rule 3.3 and 28 U.S.C. § 1915.

72. Plaintiff moves for a protective order under FRCP 26(c) to block discovery on unsubstantiated

academic misconduct claims, citing reputational harm.
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73. Plaintiff respectfully moves this Honourable Court to permit service of summons via email or,

alternatively, through assistance of the Clerk or U.S. Marshal, in light of Plaintiff’s current

residence outside the United States and limited ability to effect personal service.


                            VIII. CONFIDENTIALITY REQUEST
Plaintiff requests redaction of his identity and sensitive allegations from public filings under FRCP

5.2 and Illinois Supreme Court Rule 15, citing retaliation risks, per *Doe v. Stegall*, 653 F.2d 180

(5th Cir. 1981). Nonetheless, Plaintiff respectfully requests that a redacted version of the complaint

omitting Plaintiff’s name, cultural and religious identifiers, national, details of the assault, caste,

race, and medical information remain accessible in the public record, in good faith, for the benefit

of law students, scholars, faculty, and members of the legal profession, including attorneys and

counsels.


                                       IX. JURY DEMAND
Plaintiff hereby demands a trial by jury on all issues so triable.

Dated: June 25, 2025

Respectfully submitted,

Signature

Dipesh Singla

Pro Se Plaintiff
